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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 ANZIO IRONWORKS CORP.,
 14605 49th Street, Suite 8
 Clearwater, Florida 33762,

                Petitioner,

 v.                                                    Case No. ____________

 AARON R. GERBER,
 Director of Industry Operations
 Tampa Field Division
 Bureau of Alcohol, Tobacco, Firearms
  & Explosives
 400 North Tampa Street
 Suite 2100
 Tampa, Florida 33602,

              Respondent.
  _________________________________/


                              PETITION FOR JUDICIAL REVIEW

        Petitioner, Anzio Ironworks Corp., by counsel, files its Petition for Judicial Review of

 a Final Notice of Revocation of Firearms License, and Final Notice of Denial of Application,

 both dated July 10, 2020, and states the following:

        1.      This is a petition for de novo judicial review of the ATF’s revocation of

 Petitioner’s Federal Firearms License (“FFL”) and the ATF’s denial of an application for a

 Type 07 FFL as a dealer in firearms other than destructive devices. This action is timely under

 18 U.S.C. § 923(f)(3) and its related regulations.




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                                           PARTIES

        2.      Anzio Ironworks Corporation (“Anzio”) is a Florida corporation with its

 principal place of business is in Clearwater, Florida. Mr. Michael Remo is Anzio’s President

 and a Responsible Person under Anzio’s FFL. Since June 19, 2006, Anzio has had an FFL to

 manufacture Destructive Devices, Ammunition for Destructive Devices, and Armor Piercing

 Ammunition at 14605 49th Street N, Ste 8, Clearwater, Florida 33762.

        3.      Respondent Aaron R. Gerber (“DIO Gerber”) is the Director of Industry

 Operations (“DIO”) of the Tampa Field Division of the Bureau of Alcohol, Tobacco, Firearms

 & Explosives (“ATF”), and is sued in his official capacity as DIO. Anzio Ironworks Corp. is

 within the jurisdiction of the Tampa Field Division, and DIO Gerber has authority over

 issuance and revocation of licenses for that Division.

                               JURISDICTION AND VENUE

        4.      28 U.S.C. § 1331 authorizes this Court to hear this action, as it arises under the

 Constitution and the laws of the United States, including 18 U.S.C. § 923(f)(3) and its related

 regulations.

        5.      Venue is proper in the United States District Court for the Middle District of

 Florida, Tampa Division, because Anzio has its principal place of business in Clearwater,

 Florida.

                                  BACKGROUND FACTS

        6.      Anzio is a manufacturer of Destructive Devices, Ammunition for Destructive

 Devices, and Armor Piercing Ammunition located at 14605 49th Street N, Ste 8, Clearwater,

 Florida 33762, for which it holds an FFL license, No. 1-59-103-10-8G-05536.



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         7.      Anzio is a long-time small community business with a global footprint. Anzio

 has maintained its license to manufacture handmade high caliber firearms and ammunition

 since 2006.

         8.      Mr. Michael Remo is a self-taught gunsmith and entrepreneur, which enabled

 him to turn his interest into a vocation. Mr. Remo and his four part-time employees focus on

 the development and production of 20 millimeter and .50 caliber rifles and ammunition.

         9.      Anzio’s clients include the United States Armed Forces and United States allies.

  A large majority of Anzio’s contractual obligations are government end users.

         10.      On September 26, 2018, the ATF initiated a firearms compliance inspection at

  Anzio’s business premises. ATF conducted a closing conference and issued a “Report of

  Violations” on December 21, 2018.

         11.     On April 25, 2019, Anzio filed an application for a Type 07 Federal Firearms

  License to manufacture firearms other than destructive devices at the business premises located

  at 12820 Daniel Road, Unit 12, Clearwater, Florida 33762.

         12.     ATF sent to Anzio via certified mail a “Notice of Revocation” on December

  26, 2019. ATF issued to Anzio via certified mail a “Notice to Deny Application for License,

  ATF Form 4498 (5300.43)” (“Notice to Deny”). The Notice of Revocation the ATF issued to

  Anzio alleged several violations of 18 U.S.C. § 923 et seq.

         13.     The Notice of Revocation and Notice to Deny alleged Anzio conducted

  business activities at a location other than their business premises in violation of 18 U.S.C. §

  923(a) and 27 C.F.R. § 478.50; failed to complete and record a firearms transaction on an ATF

  Form 4473 prior to transferring a firearm to non-licensees in violation of 18 U.S.C. § 922(b)(5)



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 and 27 C.F.R. § 478.124; transferred firearms to non-licensees without receiving a unique

 identification number in violation of 18 U.S.C. § 922(t) and 27 C.F.R. § 478.102; failed to

 properly maintain the acquisition and dispositions of firearms in the Licensee’s Acquisition

 and Disposition records required of a manufacturer in violation of 18 U.S.C. § 923(g)(1)(A)

 and 27 C.F.R. §§ 478.123(a), 478.123(b), and 478.123(d); aided and abetted Ligamec

 Corporation, a manufacturer in firearms and ammunition other than destructive devices, in

 violation of 18 U.S.C. § 923(g)(1)(A) and 27 C.F.R. §§ 478.123(a), 478.123(b), and

 478.123(d); transferred unregistered destructive devices to non-licensees in violation of 18

 U.S.C. § 922(b)(4); and transferred two (2) machineguns to non-licensees in violation of 18

 U.S.C. 922(o).

        14.       Anzio timely requested a hearing on both the Notice to Revoke and the Notice

 to Deny Application for License.

        15.       DIO Gerber presided over the hearing for both the Notice to Revoke and the

 Notice to Deny Application for License on March 11, 2020. DIO Gerber received evidence

 from the government, represented by Amy Freyermuth, and from Mr. Michael Remo, President

 of Anzio Ironworks Corporation. Mr. Remo did not have the benefit of counsel for the hearing.

        16.       Specifically, the government introduced evidence of Mr. Remo’s alleged

 willful violations of 18 U.S.C. § 923 and its related regulations.

        17.       Mr. Remo introduced evidence refuting the willfulness of any statutory or

 regulatory violations Anzio committed.




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         18.      DIO Gerber issued Final Notices of Denial of Application, Revocation and/or

 Fine of Fine of Firearms License, ATF E-Form 5300.13, revoking Anzio’s Federal Firearms

 Licenses and denying Anzio’s Application for a Type 07 License on July 10, 2020.

         19.      The ATF’s Revocation Letter is attached, and incorporated herein by reference,

 as Exhibit 1.

         20.      The ATF’s Denial Letter is attached, and incorporated herein by reference, as

 Exhibit 2.

         21.      In both letters, DIO Gerber made several “Findings of Fact” and “Conclusions

 of Law.” Specifically, in paragraph 9, DIO Gerber found Anzio willfully committed

 recordkeeping and physical firearm transfer violations. DIO Gerber also found Anzio willfully

 aided and abetted Ligamec Corp.

         22.      Anzio, by counsel, submitted a Request for Stay of the Revocation of the

 License for 60 days under 18 U.S.C. § 923(f)(3) and 27 C.F.R. § 478.78. Anzio requested the

 stay to effectuate the orderly shutdown of operations and to satisfy several outstanding

 contracts to a United States ally.

         23.      DIO Gerber issued a stay on August 19, 2020. The stay requires Anzio to abide

  by or comply with seven conditions.

         24.      DIO Gerber’s Limited Stay of Revocation is attached, and herein incorporated,

  as Exhibit 3.

         25.      Mr. Remo and his team tirelessly work to comply fully with DIO Gerber’s

  conditions and satisfy all open contracts. Soon after DIO Gerber issued the stay, Mr. Remo

  began to retrieve and secure all firearms his partners possessed. Mr. Remo immediately



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 updated his Acquisition and Disposition Record to be compliant with 18 U.S.C. § 923(g)(1)(A)

 and 27 C.F.R. § 478.123. With the ATF’s aid, Mr. Remo is currently making efforts to transfer

 firearms from Anzio to Mr. Remo, in his personal capacity, consistent with ATF regulations.

 Mr. Remo is in the process of destroying any weapons not subject to any contract or that will

 not be ultimately transferred to him in his personal capacity or another appropriate party. Mr.

 Remo will transfer several National Firearms Act regulated items to others only after using the

 appropriate ATF forms consistent with the Stay. Anzio immediately ceased all new production

 or acquisition of new firearms. Finally, Mr. Remo has updated and will continue to submit

 information in order to update the National Firearms Registration and Transfer Record

 consistent with the Stay.

         26.     To the extent the Stay permits, Anzio made and will continue to make

 affirmative efforts to correct all recordkeeping errors and implement preventive measures to

 prevent regression.

         27.     Mr. Remo ensures all business Anzio conducts takes place on Anzio’s

 conditionally licensed premises.

         28.     At no time has the ATF found Anzio or Mr. Remo to be engaged in nefarious

 practices or to be a threat to public safety or national security. His intentions are quite the

 opposite—Anzio’s mission is to help provide our Armed Forces and its allies with the best

 weaponry to ensure public safety and national security.

         29.     18 U.S.C. § 923(e) authorizes the Attorney General to revoke licenses and/or

 deny application for FFLs only if the licensee/applicant willfully violates or has willfully

  violated the provisions of that chapter or rules promulgated thereunder.



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                                          COUNT ONE

         30.    Petitioner incorporates Paragraphs 1-29 herein by reference.

         31.    DIO Gerber found on sixty-nine occasions, Anzio transferred a firearm to an

 unlicensed individual without receiving a unique identification number in violation of 18

 U.S.C. § 922(t) and 27 C.F.R. § 478.102.

         32.    The ATF revoked Anzio’s Federal Firearms License without authorization.

         33.    18 U.S.C. § 922 authorizes the Attorney General to revoke any Federal Firearms

 License “if the holder of such license has willfully violated any provision of this chapter or

 any rule or regulation … under this chapter.”

         34.    Mr. Remo, a Responsible Person on Anzio’s behalf, did not willfully violate

 the provisions of either 18 U.S.C. § 922(t) or 27 C.F.R. § 478.102.

         35.    The transfer between Mr. Remo and Mr. Ruiz of sixty-nine NFA-regulated

 firearms was not done with purposeful disregard of or plain indifference to the applicable

 statutory and regulatory requirements.

         36.    Mr. Ruiz was a Responsible Person under Anzio’s license at the time of the

 ATF’s inspection on September 26, 2018.

         37.    Mr. Remo believed the transfer between himself and Mr. Ruiz to be valid

 because Mr. Ruiz was a Responsible Person under his license and Mr. Ruiz solely received the

  firearms to continue and complete manufacturing.




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                                         COUNT TWO

        38.     Petitioner incorporates Paragraphs 1-37 herein by reference.

        39.     DIO Gerber found on sixty-nine occasions Anzio failed to complete and record

 the firearm transaction on an ATF Form 4473 prior to transfer in violation of 18 U.S.C. §

 922(b)(5) and 27 C.F.R. § 478.124(a).

        40.     The ATF revoked Anzio’s Federal Firearms License without authorization.

        41.     18 U.S.C. § 922 authorizes the Attorney General to revoke any Federal Firearms

 License “if the holder of such license has willfully violated any provision of this chapter or

 any rule or regulation … under this chapter.”

        42.     Mr. Remo, a Responsible Person on Anzio’s behalf, did not willfully violate

 the provisions of 18 U.S.C. § 922(b)(5) and 27 C.F.R. § 478.124(a).

        43.     Mr. Remo testified that “transfers” in the logbook were not always transfers

 within the statutory and regulatory meaning.

        44.     Mr. Remo logged the movement of his firearms even for Responsible Persons

 taking the firearms for testing.

        45.     This practice is not purposeful disregard of or plain indifference to 18 U.S.C.

 § 922(b)(5) and 27 C.F.R. § 478.124(a).

                                       COUNT THREE

        46.     Petitioner incorporates Paragraphs 1-45 herein by reference.

        47.     DIO Gerber found Anzio failed to have ATF Form 4s or complete ATF Form

 4473s for the transfer of fifty-seven Destructive Devices regulated under the Nation Firearms

 Act in violation of 18 U.S.C. § 922(b)(4).



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        48.     The ATF revoked Anzio’s Federal Firearms License without authorization.

        49.     18 U.S.C. § 922 authorizes the Attorney General to revoke any Federal Firearms

 License “if the holder of such license has willfully violated any provision of this chapter or

 any rule or regulation … under this chapter.”

        50.     Mr. Remo, a Responsible Person on Anzio’s behalf, did not willfully violate

 18 U.S.C. § 922(b)(4).

                                       COUNT FOUR

        51.     Petitioner incorporates Paragraphs 1-50 herein by reference.

        52.     DIO Gerber found Anzio transferred two machine guns to Mr. Remo without

 receipt of an approved ATF Form 4 by Anzio or without completion of an ATF Form 4473 in

 violation of 18 U.S.C. § 922(o).

        53.     The ATF revoked Anzio’s Federal Firearms License without authorization.

        54.     18 U.S.C. § 922 authorizes the Attorney General to revoke any Federal Firearms

 License “if the holder of such license has willfully violated any provision of this chapter or

 any rule or regulation … under this chapter.”

        55.     Mr. Remo never intended to transfer the machine guns from Anzio to himself.

 The notations Mr. Remo made in his logbook were for tracking purposes, not to signify

 transfer of a firearm from Anzio to himself.

        56.     Mr. Remo, a Responsible Person on Anzio’s behalf, did not willfully violate

 18 U.S.C. § 922(o).

                                        COUNT FIVE

        57.     Petitioner incorporates Paragraphs 1-56 herein by reference.



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          58.     DIO Gerber found on seventy-four occasions, Anzio failed to properly maintain

   the acquisition and dispositions of firearms in its A&D Records in violation of 18 U.S.C. §

   923(g)(1)(A) and 27 C.F.R. §§ 478.123(a), 478.123(b), and 478.123(d).

          59.     The ATF revoked Anzio’s Federal Firearms License without authorization.

          60.     18 U.S.C. § 922 authorizes the Attorney General to revoke any Federal Firearms

   Licensee “if the holder of such license has willfully violated any provision of this chapter or

   any rule or regulation … under this chapter.”

          61.     Mr. Remo, a Responsible Person on Anzio’s behalf, did not willfully violate

   the provisions of 18 U.S.C. § 923(g)(1)(A) or 27 C.F.R. §§ 478.123(a), 478.123(b), and

   478.123(d).

          62.     Where the A&D book indicated a “transfer” from Anzio to an individual

   (usually Mr. Remo, Mr. Ruiz, or another Responsible Person under Anzio’s license), Mr. Remo

   did not actually transfer the firearm to another.

          63.     Mr. Remo took special care to document in detail Anzio’s firearms’ movements

   among him and the Responsible People under Anzio’s license.

          64.     Mr. Remo properly documented any actual transfers between Anzio and

   individuals not listed as Responsible Persons under his license.

          65.     Mr. Remo’s recordkeeping practice was not purposeful disregard of or plain

   indifference to the requirements of 18 U.S.C. § 923(g)(1)(A) and 27 C.F.R. §§ 478.123(a),

   478.123(b), and 478.123(d).

                                            COUNT SIX

          66.     Petitioner incorporates Paragraphs 1-65 herein by reference.



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          67.     DIO Gerber found Ligamec Corp. conducted manufacturing of destructive

   devices and suppressors for Anzio’s benefit on its business premises in violation of 18 U.S.C.

   § 923(a) and 27 C.F.R. § 478.50.

          68.     The ATF revoked Anzio’s Federal Firearms License without authorization.

          69.     18 U.S.C. § 922 authorizes the Attorney General to revoke any Federal Firearms

   License “if the holder of such license has willfully violated any provision of this chapter or

   any rule or regulation … under this chapter.”

          70.     Mr. Remo, a Responsible Person on Anzio’s behalf, did not willfully violate

   the provisions of either 18 U.S.C. § 923(a) or 27 C.F.R. § 478.50.

          71.     Ligamec Corp. maintained a Type 07 FFL for its premises.

          72.     Mr. Ruiz was a Responsible Person of both Anzio and Ligamec Corp.

          73.     Mr. Remo gave the weapons to Mr. Ruiz to complete manufacturing at the

   Ligamec Corp. location.

          74.     Mr. Remo reasonably and genuinely believed Mr. Ruiz could complete

   manufacturing on Ligamec Corp.’s premises for Anzio’s benefit because Ligamec Corp. had

   an FFL and Mr. Ruiz was a Responsible Person under Anzio’s license.

          75.     Upon information and belief, DIO Gerber relied on a prior 2012 warning Anzio

   received for an alleged violation of 18 U.S.C. § 923(a) and 27 C.F.R. § 478.50 to substantiate

   the DIO’s willfulness finding.

          76.     In 2011, Mr. Remo purchased an existing machine shop on his belief from the

   realtor the commercial property was zoned in for industrial use. Mr. Remo moved his

   machinery into the newly purchased shop. The ATF found the property was not zoned for



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   industrial use and informed Mr. Remo. Mr. Remo initiated the rezoning process with the

   county and moved his firearms to the location. Mr. Remo received the county’s approval six

   weeks after his shop was burglarized and burned.

          77.       The ATF investigated the burglary and arson at his location and found the

   firearms in the shop. Mr. Remo stored the firearms in the shop as it was the only secure location

   for Mr. Remo’s firearms. The ATF alleged that Anzio had violated the law based on these

   circumstances.

          78.       The allegation here, however, involves Mr. Remo’s belief that a Responsible

   Person under his license may conduct manufacturing at another location so long as the other

   location possesses an FFL. The allegation here is factually distinct from the prior allegation

   described in paragraph 77; therefore, it is not a sufficient basis for finding Anzio willfully

   violated the law.

          79.       Mr. Remo’s reasonable belief was not purposeful disregard of or plain

   indifference to the requirements of either 18 U.S.C. § 923(a) or 27 C.F.R. § 478.50.

                                          COUNT SEVEN

          80.       Petitioner incorporates Paragraphs 1-79 herein by reference.

          81.       DIO Gerber found Anzio willfully aided and abetted Ligamec Corp. to violate

   18 U.S.C. § 923(g)(1)(A) and 27 C.F.R. §§ 478.123(a), 478.123(b), and 478.123(d).

          82.       The ATF revoked Anzio’s Federal Firearms License without authorization.

          83.       18 U.S.C. § 922 authorizes the Attorney General to revoke any Federal Firearms

   License “if the holder of such license has willfully violated any provision of this chapter or

   any rule or regulation … under this chapter.”



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          84.       Mr. Remo, a Responsible Person on Anzio’s behalf, did not willfully violate

   the provisions of 18 U.S.C. § 923(g)(1)(A) or 27 C.F.R. §§ 478.123(a), 478.123(b), or

   478.123(d).

                                           COUNT EIGHT

          85.       Petitioner incorporates Paragraphs 1-84 herein by reference.

          86.       The ATF erroneously found Anzio not to be qualified to receive an FFL and,

   thus, denied Anzio’s Application for a Type 07 Federal Firearms License without

   authorization.

          87.       18 U.S.C. § 923(c) and 27 C.F.R. § 478.47 mandates the ATF to issue FFLs to

   qualified applicants. Qualified applicants are those that truthfully and fully comply with the

   application process. Those applicants that comply with all Gun Control Act provisions and

   implementing regulations are qualified applicants under 18 U.S.C. § 923(d)(1)(C) and 27

   C.F.R. § 478.47(b)(3).

          88.       Anzio truthfully and fully complied with the application process.

          89.       Anzio complied with all Gun Control Act provisions and implementing

   regulations.

          90.       The ATF’s denial relies on alleged willful violations of 18 U.S.C. § 923 and its

   implementing regulations.

          91.       Anzio did not willfully violate 18 U.S.C. § 923 and its implementing

   regulations.

          WHEREFORE, Anzio Ironworks Corp. respectfully requests that this Court:




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          1.      Accept and review the complete record of proceedings related to the license

   revocation and application denial, including DIO Gerber’s recommendations;

          2.      Allow discovery and supplementing of the factual record and legal arguments

   by Petitioner prior to conducting de novo review;

          3.      Conduct a de novo review and hearing on the underlying facts and DIO Gerber’s

   decision to revoke Anzio’s Federal Firearms License and to deny Anzio’s application for a

   Type 07 Federal Firearms License;

          4.      Conclude DIO Gerber erred, did not have adequate grounds, and, thus, was

   unauthorized to revoke Anzio’s Federal Firearms License and to deny Anzio’s application for

   a Type 07 Federal Firearms License;

          5.      Order the DIO to withdraw the license revocation and application denial; and

          6.      Award such other relief, including costs and attorneys’ fees, as this Court deems

   appropriate.

          Dated this 10th date of September, 2020.

                                                        Respectfully submitted,

                                                        /s/    Katherine C. Donlon
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